                                                                                 FILED
                                                                              IN CLERK'S OFFICE
                                                                          U.S. DISTRICT COURT E.D.N.Y.
WK:MEB                                                                         FEB 0 5 2019 *
F. #2018R02275
                                                                          BROOKLYN OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                      X


UNITED STATES OF AMERICA


         - against -                            NOTICE OF MOTION


JOHN DOE,                                       Criminal        3tNo.

                        Defendant.


                                      X
                                                GOLD,

                PLEASE TAKE NOTICE that the undersigned will move this Court, before a

judge to be assigned, for leave to file an information upon the defendant JOHN DOE's

waiver ofindictment pursuant to Rule 7(b)ofthe Federal Rules of Criminal Procedure.

Dated:      Brooklyn, New York
            February 4, 2019

                                                 RICHARD P. DONOGHUE
                                                 United States Attorney
                                                 Eastern District of New York
                                                 Attpmey for Plaintiff
                                                 271 Cadman Plaza East
                                                 Brooklyn, New York 11201


                                          By:
                                                 Whitman G.S. Knapp
                                                 Mark E. Bini
                                                 Assistant United States Attorneys
                                                 (718)254-6107/8761

C.C.:    Clerk ofthe Court
         Defense Counsel(by e-mail)
